        Case 4:13-cr-00128-JEG-HCA Document 90 Filed 05/21/14 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA



 UNITED STATES OF AMERICA,
                                           4:13-cr-00128-JEG-CFB
               Plaintiff,

      vs.

ALEX CHAVEZ,

               Defendant.


     REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                      (PLEA AGREEMENT)

              The United States of America and the defendant, having both

     ed a    written consent    to conduct of   the plea proceedings by a

magistrate judge, appeared before me pursuant to Fed. R. Crim. P. 11

and LCrR 11. The defendant entered a plea of guilty to Count 1 of a

Superceding Indictment which charged him with conspiracy to distribute

SO grams or more        actual methamphetamine in violation of 21 U.S.C.

§§    846,   841(b) (1) (A). After advising and questioning the defendant

under oath concerning each of the subjects addressed in Rule 11(b) (1),

I determined that the guilty plea was in its entirety voluntarily,

knowingly and           ligently made     and did not    result   from      force,

threats, or promises        (other than promises in the plea agreement). I

further determined that there is a factual basis for the guilty plea

on each of the essential elements of the offense(s)               question. A

plea agreement was disclosed at the plea proceeding and defendant

stated he understood its terms and agreed to be bound by them. To the
      Case 4:13-cr-00128-JEG-HCA Document 90 Filed 05/21/14 Page 2 of 2



extent the plea agreement is          the type specified in Rule 11(c} (I) (A)

or (C) defendant was advised the district judge to whom the case is

assigned may accept the plea agreement, reject it, or defer a decision

whether to accept or reject          it    until    the   judge has   reviewed the

presentence report as provided by Rule 11(c} (3) (A).           To the extent the

plea agreement is of the type specified in Rule 11(c} (l) (B) defendant

was advised by the Court that defendant has no right to withdraw the

plea if the Court does not                low a    recommendation or request     in

question.

             I recommend that the plea of guilty be accepted and that the

defendant be adjudged guilty and have sentence imposed accordingly.

A presentence     report   has   been ordered a n ' k C i n g proceedings

scheduled.

                                                    TES MAGISTRATE JUDGE




                                      NOTICE

             Failure by a party to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service will result
in waiver by that party of the right to make objections to the Report and
Recommendation. 28 U.S.C. § 636(b) (1) (B). The Report and Recommendation was served
this date by delivery of a copy thereof to counsel for the government and defendant
in open court.




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